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                    IN THE UNITED STATES DISTRICT COURT
               FOR THE WESTERN DISTRICT OF PENNSYLVANIA
                                PITTSBURGH
DANIEL JOSPEH BURBACH JR.,             )
                                       )
           Plaintiff,                  )           2:20-CV-00723-CRE
                                       )
     vs.                               )
                                       )
ARCONIC CORPORATION, HOWMET            )
AEROSPACE INC,                         )
                                       )
           Defendants,                 )
                                       )
                         CASE MANAGEMENT ORDER


       IT IS HEREBY ORDERED that this action is placed under Local Rule 16.1 for pretrial

proceedings and all provisions of the Rule will be strictly enforced. Pursuant to Local Rule 16.1,

the parties are directed as follows:

   1. The parties shall move to amend the pleadings or add new parties by January 31, 2022.

   2. The parties shall complete fact discovery by May 2, 2022. All interrogatories, depositions

       and requests for admissions and/or production of documents shall be served within

       sufficient time to allow responses to be completed prior to the close of fact discovery.

   3. Expert discovery will be scheduled at the mid-discovery video conference.

   4. The parties shall complete the ADR process they selected by February 15, 2022.

       Discovery is NOT stayed pending ADR.

   5. The Court will hold a mid-discovery video status conference on February 18, 2022 at

       10:00AM.

   6. If a discovery dispute occurs, prior to filing any discovery motions, the parties shall first

       meet and confer in an attempt to resolve the dispute. If the matter is still unresolved after

       meeting and conferring, then the parties shall jointly contact Chambers for purposes of

       scheduling a telephone conference with the Court.


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   7. The parties have elected to have the Court separately enter the Model Order located in the

       Appendix to LCvR 16.1.D relating to the protections of Federal Rule of Evidence 502(d).

   8. The Court will conduct a video post-discovery status conference on May 4, 2022 at

       10:00AM. Lead trial counsel shall attend, and the court will inform counsel if attendance

       by the parties is necessary. Counsel must fax to 412-208-7583, or e-mail to

       catherine_grimm@pawd.uscourts.gov, updated confidential position letters on or before

       April 27, 2022.

       IT IS FURTHER ORDERED that counsel shall confer with their clients prior to all case

management, status or pretrial conferences to obtain authority to participate in settlement

negotiations to be conducted by the Court. Counsel are encouraged to instruct the principals to be

available by telephone to facilitate the amicable resolution of all litigation.


       DATED this 1st day of December, 2021.

                                               BY THE COURT:

                                               s/Cynthia Reed Eddy
                                               Chief United States Magistrate Judge

cc: all counsel of record




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